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16
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17                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
18
     FEDERAL TRADE COMMISSION                        Case No. 3:23-CV-2880-JSC
19
                    Plaintiff,                       NOTICE OF MOTION AND MOTION
20                                                   FOR EXPEDITED CASE MANAGEMENT
            v.                                       CONFERENCE
21
     MICROSOFT CORP.                                 Judge:         Hon. Jacqueline S. Corley
22

23   and
                                                     No Hearing Date Set Pursuant to L.R. 7-11
24   ACTIVISION BLIZZARD, INC.
25
                    Defendants.
26

27

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                                 DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR EXPEDITED
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1                                  NOTICE OF MOTION AND MOTION

2    TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:
3            PLEASE TAKE NOTICE that Defendants Microsoft Corp. and Activision Blizzard, Inc.

4    will, and hereby do, move this Court to set an expedited case management conference in this matter.

5    The motion will be made based on this Notice of Motion and Motion, the Memorandum of Points
6    and Authorities herein, the Proposed Order, all other papers and pleadings on file in this action, and

7    any other written or oral argument or evidence that Defendants might present to the Court.

8                                         REQUESTED RELIEF
9            Defendants Microsoft and Activision request that the Court exercise its discretion to set an

10   expedited case management conference in this matter.

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1                                            INTRODUCTION

2            This case involves the Federal Trade Commission’s challenge to Microsoft Corporation’s
3    proposed acquisition of Activision Blizzard, Inc. For the express purpose of being ready to conduct

4    a fulsome hearing in federal court in the event the FTC sought a preliminary injunction (not two

5    simultaneous proceedings in a federal and an administrative court), the parties agreed to expedite
6    pretrial matters in an FTC administrative proceeding that has been pending since December. The

7    parties have completed fact discovery and exchanged witness lists, exhibit lists, and expert reports.

8    Only one step remains before the case is ready for trial: expert depositions, which are currently
9    set to take place between June 21 and 30.

10           The case has been moving at this fast pace because time is of the essence. The merger

11   agreement by which Microsoft seeks to acquire Activision has a termination date of July 18, 2023.
12   The agreement also contains a $3 billion termination fee. The FTC filed an administrative

13   complaint in December 2022.         But they chose to file this suit—seeking a court order of

14   indeterminate length to prevent the transaction from closing—6 months after filing its
15   administrative complaint and only 6 weeks before the termination date. The FTC knows that a

16   preliminary injunction decision will determine whether the transaction succeeds or fails, yet

17   counsel claims that the preliminary injunction is required only to ensure there is time to complete
18   the administrative process. Let there be no doubt, a preliminary injunction ruling is the only

19   decision that matters under these challenging deadlines.

20           As history shows, the Court’s ruling on the FTC’s request for a preliminary injunction will

21   decide the fate of this transaction, particularly in light of the termination date of July 18, 2023. If

22   Defendants prevail, the FTC’s longstanding and unbroken practice has been to walk away from its

23   challenge. On the other hand, if the Court grants a preliminary injunction, it will effectively block
24   the transaction because the FTC’s process is “glacial” and one “[n]o substantial business transaction

25   could ever survive.” FTC v. Occidental Petroleum Corp., 1986 WL 952, at *13 (D.D.C. Apr. 29,

26   1986) (denying motion for preliminary injunction). This case illustrates the point. The FTC

27   hearing is set to start after the termination date. There will be no decision until late December 2023

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1    or early January 2024 at the earliest. That decision will not be final because the FTC recently

2    concluded that such decisions are recommendations subject to the review of the Commissioners
3    who authorized the complaint—a lengthy process that always results in a decision in the FTC’s

4    favor. Defendants’ only recourse at that point is an appeal to a circuit court. Overall, this process

5    takes several years—a timeframe no merger could survive. That is why FTC preliminary injunction
6    hearings typically last at least five days—those hearings are the only hearings that will take place.

7            Defendants recognize the Court has issued an order temporarily restraining the transaction

8    and setting a hearing for June 22-23. But Defendants respectfully submit that an appropriate initial
9    step would be to hold an expedited case management conference at the Court’s earliest

10   convenience—as soon as June 15, if possible given the Court’s busy calendar—to establish an

11   appropriate schedule to resolve the FTC’s challenge.
12           To be clear, Defendants have no interest in delaying the resolution of this matter. But

13   Defendants respectfully submit that a hearing of two days is not enough time to present the issues

14   in this case and that further discussion of the schedule is warranted. The stakes of this case are
15   high, and it involves important legal, factual, and economic issues. At minimum, Defendants

16   believe the Court should allow the hearing to extend into the week of June 26, to permit expert

17   discovery to conclude before the conclusion of the hearing, particularly given that the FTC’s motion
18   for a temporary restraining order relies heavily on the reports submitted by their expert, Dr. Robin

19   Lee.

20           As demonstrated in the schedule below, Defendants believe that the hearing could be

21   scheduled for a minimum of five days beginning on June 22 and running through the week of June

22   26 (or the soonest dates thereafter, based on the Court’s busy schedule). To ensure the case

23   proceeds on a viable schedule, Defendants request that the Court set a case management conference
24   as soon as possible to further discuss the format and length of the hearing.

25                           BACKGROUND AND PROCEDURAL HISTORY

26           Defendant Microsoft Corporation is a technology company that competes in the gaming

27   industry through its Xbox division. Defendant Activision Blizzard, Inc. is a video game developer

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1    and publisher. On January 18, 2022, Microsoft signed a Merger Agreement to acquire 100% of

2    Activision for $68.7 billion. The Agreement requires the parties to close by July 18, 2023.
3             Shortly after the deal was announced, the FTC opened an investigation into the proposed

4    acquisition. During the FTC’s nearly yearlong investigation, Defendants produced millions of

5    documents and sat for several investigational hearings. On December 8, 2022, the FTC filed an
6    administrative complaint before the FTC’s Office of Administrative Law Judges, seeking to bar the

7    transaction under Section 7 of the Clayton Act and Section 5 of the FTC Act. See 16 CFR Part 3.

8    Unlike in most other merger challenges where the FTC simultaneously files a case in federal
9    court—because only a federal court has the power to preliminarily enjoin the transaction, see 15

10   U.S.C. § 53(b)—the FTC delayed filing a federal action until Monday. Instead, the FTC initially

11   scheduled an administrative hearing before the FTC’s Chief ALJ on an eight-month calendar rather
12   than a five-month calendar (the “Part 3 proceeding”). See 16 CFR § 3.11(b)(4). That had the effect

13   of setting the hearing for August 2, 2023—when there was no preliminary-injunction proceeding

14   and when it was clear that the transaction’s termination date (July 18, 2023) was weeks before the
15   hearing would even begin.

16            The FTC’s administrative process is lengthy. In this case, the proceedings before the ALJ

17   would last until at least December 2023 (at the absolute earliest). Due to a recent rule change by
18   the FTC, that proceeding would culminate in a “recommended decision” to the Commissioners that

19   has no legal force of its own. FTC, Federal Register Notice: Amendments to Part 3 Rules (June 2,

20   2023),            https://www.ftc.gov/system/files/ftc_gov/pdf/p072104-amendments-to-part-3-rules-

21   frn.pdf. The ALJ’s recommended decision would then be subject to automatic review by the

22   Commissioners. That review takes a long time: As of several decades ago, “the average time from

23   the initial decision to the final Commission decision exceeded 13 ½ months,” Occidental, 1986 WL
24   952, at *13, and things have not improved materially since then.             And as a former FTC

25   Commissioner has recognized, the Commissioners’ review always results in a ruling in favor of the

26   FTC.        See     Joshua   D.   Wright,   Section    5   Revisited,   at   6   (Feb.   26,   2015),

27   https://tinyurl.com/y2v2m449 (describing FTC’s undefeated record adjudicating complaints it

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                                  DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR EXPEDITED
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1    voted out, regardless of the ALJ’s decision). After that, Defendants would have a right to appeal

2    to a federal circuit court and the U.S. Supreme Court, which would take still longer.
3            Overall, this process would take several years, which no merger could survive. See, e.g.,

4    FTC v. Foster, 2007 WL 1793441, at *51 (D.N.M. May 29, 2007) (denying motion for preliminary

5    injunction and dissolving temporary restraining order, and noting that “the grant of a temporary
6    injunction in a Government antitrust suit is likely to spell the doom of an agreed merger.” (citation

7    omitted)).    For that reason, federal court proceedings under Section 13(b) are outcome

8    determinative. When the FTC wins, the transaction collapses. See, e.g., FTC v. Sysco Corp., 113
9    F. Supp. 3d 1 (D.D.C. 2015) (granting FTC request for preliminary injunction of proposed merger);

10   In re Sysco Corp., FTC Docket No. 9364 (describing the defendants’ decision to abandon the deal

11   after losing at the preliminary-injunction hearing).        When the FTC loses, it abandons its
12   administrative challenge. See, e.g., FTC v. Meta Platforms Inc., No. 5:22-CV-04325-EJD, 2023

13   WL 2346238 (N.D. Cal. Feb. 3, 2023) (denying FTC request for preliminary injunction of proposed

14   merger); In re Meta Platforms, Inc.; FTC Docket No. 9411 (noting that FTC dismissed its
15   administrative complaint).

16           To be prepared for the possibility that the FTC might eventually file a motion for

17   preliminary injunction in federal court in this matter, the parties have been cooperating to expedite
18   pretrial matters so that a federal judge can decide the matter in a timely fashion. Fact discovery is

19   complete. And expert discovery will close on June 23 (with one deposition taking place on June

20   30, by agreement of the parties). The FTC has disclosed one expert who has submitted over 350

21   pages of reports (currently set to be deposed on June 21), and whom they principally rely upon in

22   seeking emergency relief from this Court. Defendants have disclosed three experts (currently set

23   to be deposed between June 21 and 30).
24                                               ARGUMENT

25           The hearing on the FTC’s motion for a preliminary injunction is not a trivial event. It is

26   “well recognized that the issuance of a preliminary injunction prior to a full trial on the merits is an

27   extraordinary and drastic remedy,” and that this is “particularly true in the acquisition and merger

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1    context, because, as a result of the short life-span of most tender offers, the issuance of a preliminary

2    injunction blocking an acquisition or merger may prevent the transaction from ever being
3    consummated.” FTC v. Exxon Corp., 636 F.2d 1336, 1343–44 (D.C. Cir. 1980) (citations and

4    internal quotation marks omitted). Defendants are aware of no situation where (1) a merger has

5    closed after an unfavorable federal court decision on a preliminary injunction or (2) the FTC has
6    pursued its administrative proceeding after losing in federal court.

7            While Defendants appreciate the Court’s willingness to move quickly, Defendants

8    respectfully submit that an expedited case management conference would assist in setting an
9    appropriate schedule for efficiently and effectively resolving a case of this magnitude. Defendants

10   see two issues with the Court’s suggested path forward, both of which would benefit from further

11   discussion.
12           First, the hearing date is currently set during expert discovery. While Defendants are

13   prepared to accelerate the pace of expert discovery, Defendants submit that the parties and Court

14   would benefit from having the experts deposed prior to the close of trial. That is particularly so
15   because the FTC’s motion for a temporary restraining order relies heavily on the testimony of its

16   expert and the reports he submitted—making it all the more important that the Court have a full

17   and complete expert record when adjudicating the FTC’s motion.
18           Second, while Defendants believe the evidence can be presented expeditiously, Defendants

19   are not aware of situations where a matter of this scope and importance was decided on just two

20   days of testimony. On the contrary, federal court preliminary injunction hearings typically last at

21   least five days, presumably because the hearing is the only one that will ever take place. See, e.g.,

22   Meta Platforms Inc., 2023 U.S. Dist. LEXIS 29832 (7-day hearing); FTC v. Hackensack Meridian

23   Health, Inc., Civil Action No. 20-18140, 2021 U.S. Dist. LEXIS 158158 (D.N.J. Aug. 4, 2021) (7-
24   day hearing); FTC v. Thomas Jefferson Univ., 2020-2 Trade Cas. (CCH) 81,469 (E.D. Pa. Dec. 8,

25   2020) (6-day hearing); FTC v. RAG-Stiftung, Civil Action No. 19-2337, 2020 U.S. Dist. LEXIS

26   18346 (D.D.C. Jan. 24, 2020) (two-week evidentiary hearing).

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1              Given the significance of this Court’s decision on the FTC’s preliminary injunction

2    motion, Defendants propose the following schedule:
3
                                  Event                                           Deadline/Date
4
      Joint Case Management Statement                                June 14, 2023
5
      Initial Case Management Conference                             June 15, 2023
6
      Opposition to Preliminary Injunction                           June 16, 2023
7
      Reply in Support of Preliminary Injunction                     June 20, 2023 (noon)
8
      Pre-Hearing Conference                                         June 21, 2023
9     Close of Expert Discovery                                                      1
                                                                     June 23, 2023
10    Hearing                                                        June 22, 2023 (running for a minimum
11                                                                   of five days as soon thereafter as
                                                                     convenient for the Court)
12
      Proposed Findings of Fact and Conclusions of Law               Submitted two days after the close of
13                                                                   evidence

14   Defendants would also be available to take trial days when the Court has availability rather than
15   setting the case in one full block.
16             In conclusion, because the preliminary injunction hearing will decide the fate of the
17   transaction, Defendants submit that a longer hearing is warranted and that the parties and Court
18   would benefit from an opportunity to discuss and set an appropriate schedule for resolving this
19   important matter.
20                                  CIVIL LOCAL RULE 16 STATEMENT
21             Counsel for Microsoft have conferred with all other counsel. Defendant Activision supports
22   this request for an expedited Initial Case Management Conference. Plaintiff Federal Trade
23   Commission has declined to join a request for an expedited Initial Case Management Conference.
24   Subject to the Court’s order, the parties will meet and confer pursuant to Civil Local Rule 16-3 and
25   submit a Joint Case Management Statement setting out their respective scheduling proposals no
26   later than June 14, 2023, pursuant to Civil Local Rule 16-9 and the Standing Order for All Judges
27

28   1 As   noted above, the parties have agreed to one expert deposition currently slated for June 30, 2023.
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                                   DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR EXPEDITED
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1    of the Northern District of California.

2                                               CONCLUSION
3            Based on the circumstances described above, Microsoft and Activision jointly and

4    respectfully request that the Court issue the accompanying proposed Order setting an initial case

5    management conference on June 15 or 16, 2023, and requiring the submission of a joint case
6    management statement on June 14, 2023.

7

8     DATED: June 14, 2023                     Respectfully submitted,
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     Case 3:23-cv-02880-JSC Document 56 Filed 06/14/23 Page 10 of 12



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                                 DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR EXPEDITED
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16                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
17                                    SAN FRANCISCO DIVISION
18   FEDERAL TRADE COMMISSION                        Case No. 3:23-CV-2880-JSC
19                  Plaintiff,                       [PROPOSED] ORDER GRANTING
                                                     MOTION FOR EXPEDITED INITIAL
20          v.                                       CASE MANAGEMENT CONFERENCE
21                                                   Judge:       Hon. Jacqueline S. Corley
     MICROSOFT CORP.
22
     and
                                                     No Hearing Date Set
23
     ACTIVISION BLIZZARD, INC.
24

25                  Defendants.
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1                                           [PROPOSED] ORDER

2            Having considered the Defendants’ Motion for Expedited Initial Case Management

3    Conference, the Court hereby GRANTS the Motion and ORDERS that an Initial Case

4    Management Conference shall be scheduled for Thursday, June 15 or Friday, June 16.

5            The Court FURTHER ORDERS the parties to submit a Joint Case Management Statement

6    on or before Wednesday, June 14, 2023.

7
     Date: _______________                          ________________________________
8                                                   Hon. Jacqueline S. Corley
                                                    UNITED STATES DISTRICT COURT JUDGE
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